981 F.2d 1251
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jabir Na'im PASHA, Plaintiff-Appellant,v.Thomas R. CORCORAN, Warden;  Phillip Thomas, FacilityAdministrator, Defendants-Appellees,andD. Walton, Correctional Officer II;  James H. Ashby;  DianeScurry;  Unknown Persons, Baltimore PreReleaseUnit, Defendants.
    No. 92-6901.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  November 30, 1992Decided:  December 17, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Jabir Na'im Pasha, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Stephanie Judith Lane-Weber, Assistant Attorney General, for Appellees.
      D.Md.
      AFFIRMED.
      Before WILKINS and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Jabir Na'im Pasha appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Pasha v. Corcoran, No. CA-92-436-WN (D. Md. Aug. 14, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    